Case 8:16-cv-03345-SCB-MAP Document 16 Filed 03/24/17 Page 1 of 3 PageID 86
Case 8:16-cv-03345-SCB-MAP Document 16 Filed 03/24/17 Page 2 of 3 PageID 87
Case 8:16-cv-03345-SCB-MAP Document 16 Filed 03/24/17 Page 3 of 3 PageID 88




                                        CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 24th, 2017, a true copy of the foregoing was filed with the

Clerk of the Court using the CM/ECF system and that a copy hereof will be electronically served by the

electronic filing system upon all counsel of record.

                                                              /s/ Kevin G. Brick
                                                              Kevin G. Brick, Esq.
                                                              Fla. Bar No. 0011500
